                            UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  (HOUSTON DIVISION)


  UNITED STATES OF AMERICA,
                                                                        4:18-cv-00644
                                                       Civil Action No. ____________
                   Plaintiff,

            v.
                                                       JURY TRIAL DEMANDED
  CITY OF HOUSTON,

                    Defendant.

                                           COMPLAINT

       Plaintiff United States of America (“United States”) alleges:

       1.        This action is brought on behalf of the United States to enforce the provisions of

Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000 et seq. (“Title VII”). As

set forth below, the United States alleges that Defendant, the City of Houston, Texas

(“Defendant” or “the City”), has engaged in sex discrimination in violation of Title VII when it

subjected former firefighters Jane Draycott (“Draycott”) and Paula Keyes (“Keyes”) to a hostile

work environment based on their sex. The City further subjected Draycott to retaliation because

of her complaints of sex discrimination which ultimately resulted in her constructive discharge.

                                  JURISDICTION AND VENUE

       2.        This Court has jurisdiction over this action under 42 U.S.C. §§ 2000e-5(f), 28

U.S.C. §§ 1331, 1343(a), and 1345.

       3.        On July 15, 2009, Draycott filed a timely charge alleging sex discrimination and

retaliation with the Equal Employment Opportunity Commission (“EEOC”). Draycott amended

her charge to include additional allegations of retaliation on August 5, 2009 and April 6, 2010.




                                                  1
           4.    On December 17, 2010, the EEOC notified the City that it found reasonable cause

to believe that the City violated Title VII by subjecting Draycott to a hostile work environment

based on her sex and by retaliating against her for engaging in protected activity.

           5.    On July 16, 2009, Keyes filed a timely charge alleging sex and race

discrimination with the EEOC.

           6.    On October 23, 2014, the EEOC notified the City that it found reasonable cause to

believe that the City violated Title VII by subjecting Keyes to discrimination and harassment,

including a hostile work environment based on her sex and/or race.

           7.    On April 4, 2016, the EEOC notified the City that efforts to conciliate Draycott’s

and Keyes’ charges were unsuccessful, and the matters were forwarded to the Department of

Justice.

           8.    All conditions precedent to the initiation of this lawsuit have been fulfilled.

           9.    The employment practices alleged to be unlawful were committed within the

jurisdiction of the United States District Court for the Southern District of Texas, Houston

Division. Therefore, venue is proper in this judicial district under 42 U.S.C. § 2000e-5(f) and 28

U.S.C. § 1391(b).

                                                PARTIES

           10.   Plaintiff, the United States of America (“Plaintiff” or “United States”) is expressly

authorized to bring this action by Sections 706(f)(1) and (3) of Title VII, 42 U.S.C. §§ 2000e-

5(f)(1) and (3).

           11.   Defendant is a government body created pursuant to the laws of the State of Texas

and is located within this judicial district.




                                                   2
        12.     Defendant maintains the Houston Fire Department (“HFD”) which employs

uniformed firefighters.

        13.     Defendant is a person within the meaning of 42 U.S.C. § 2000e(a).

        14.     Defendant is an employer within the meaning of Sections 701(b), (g), and (h) of

Title VII, 42 U.S.C. §§ 2000e(b), (g), and (h).

                                   FACTUAL ALLEGATIONS

A. Draycott’s and Keyes’ Experiences as the Only Female Firefighters Permanently
   Assigned To Station 54.

        15.     On or about October 22, 2007, Draycott completed the requirements of Firefighter

Master and Aircraft Rescue and Relief Fire (“AARF”) Master as established by the Texas

Commission on Fire Protection. AARF certification is a highly specialized type of firefighting

that responds to aircraft accidents, disasters, and other emergencies at airports.

        16.     From 2008 to 2010, there were four AARF stations within the HFD. AARF Fire

Station 54 is located at Bush Intercontinental Airport.

        17.     In July 2008, Draycott was transferred to Station 54 on a permanent basis as a

firefighter.

        18.     On April 8, 2009, Paula Keyes was transferred to Station 54 on a permanent basis

as a firefighter.

        19.     Draycott and Keyes were the only female firefighters permanently assigned to

Station 54 at this time.

        20.     Between 2008 and 2010, Station 54 staffed firefighters on four shifts (A, B, C,

and D). Firefighters worked two 24-hour shifts per week and filled in for other shifts as needed.

        21.     During their 24-hour shift, firefighters lived, ate, and slept at the station. They

also trained, drilled, and responded to emergency calls. For all intents and purposes, the station



                                                  3
served as their home while they were on duty.

       22.     Between 2008 and 2010, each of the four shifts at Station 54 had a Senior Captain

and Captain on duty to manage the operations of the station. The Senior Captain and Captain

reported to an off-site District Chief. All ranks of Captain and above within the HFD were

considered management-level employees with the ability to schedule, manage, and discipline

firefighters, including Draycott and Keyes.

       23.     While Draycott and Keyes were assigned to Station 54, they were assigned to the

A shift. The overseeing District Chief was George McAteer, the A shift Senior Captain was

Isidro Tamez, and the A shift Captain was Erich Hencshel.

       24.     Station 54 contained separate sleeping and bathing quarters for men and women.

       25.     Prior to Draycott’s transfer to Station 54, male firefighters regularly used the

women’s dormitory for their own purposes, including to read, watch television, study, and use

the women’s restroom.

B. Prior to Draycott’s and Keyes’ Assignments to Station 54, Women Had Complained
   about Discrimination by Male Firefighters.

       26.     Prior to Draycott’s and Keyes’ assignments to Station 54 in 2008 and 2009,

respectively, several female firefighters reported to the City that male firefighters were misusing

the women’s dormitory and bathroom in an attempt to drive the women away from the Station.

       27.     For example, from 2003 to 2004, Laura Saavedra frequently discovered urine on

the toilet seats in the women’s bathroom. On one occasion, Saavedra discovered a male

firefighter using the women’s bathroom during her shift. Saavedra also regularly found tobacco

spit cups, coffee cups, and other trash scattered throughout the women’s dormitory. She

complained about these incidents and brought Senior Captain Robert Holmes and Captain Robert




                                                 4
Wisnowski into the bathroom to witness the urine on at least two occasions, and again to witness

debris at least twice. Neither Captain took meaningful action in response.

       28.     On or about September 2006, the City received a complaint alleging that a

firefighter’s wife, who was visiting Station 54, discovered urine on the countertop, wall, and sink

and that the bathroom smelled like raw sewage and the dormitory smelled like urine. The

complaint was investigated by the City’s Office of Inspector General (“OIG”), which confirmed

those allegations and that other complaints of a similar nature had been made to station

management, but closed the complaint because no wrongdoer could be identified.

       29.     Around 2006, firefighter Nefertari Alexander was assigned to “fill in” and

occasionally work at Station 54. Each time she worked at Station 54, Alexander observed urine

in the sink, on the mirror, and around the toilet seat. She also found fireworks taped to the inside

of the toilet seats and, on another occasion, someone had defecated in one of the toilets and had

purposely blocked the automatic flush sensor so that the toilet would not flush. Alexander

reported these problems to Senior Captain Holmes and Captain Wisnoski. The Captains’

response to this complaint was to tell the male firefighters at a Roll Call to clean up after

themselves when they used the women’s dormitory.

       30.     The next time Alexander returned to Station 54, she found fingernail clippings in

the female dormitory, observed urine on the bathroom sink and mirror, and smelled urine in the

dormitory area and carpet. On one occasion, she started her shift and discovered a male

firefighter sleeping in a bed in the women’s dormitory.

       31.     In February 2007, District Chief McAteer issued an internal bulletin prohibiting

male firefighters from the women’s dormitory and bathroom. The bulletin also prohibited

women from using the men’s areas, despite no complaints of such behaviors.




                                                  5
C. Male Firefighters Continued to Misuse the Women’s Dormitory and Bathroom
   Notwithstanding Draycott’s and Keyes’ Permanent Assignments to Station 54.

          32.   Notwithstanding the City’s awareness of the long-standing complaints about male

firefighters’ misuse of the women’s dormitory and bathroom, when Draycott and Keyes

transferred to Station 54, they encountered the same problems that other women had previously

reported to management.

          33.   In the bathroom, Draycott regularly found the toilet seat up, urine on the outside

of the toilet and on the floor, wet spots in the corner on the carpet that appeared to be urine, and

yellow areas in the sink that she believed to be urine. In the dormitory, Draycott also found

tobacco spit in her desk drawers, spilled drinks, dirty dishes, used Q-tips, and nail clippings on

her bed and on the floor. On several occasions, her mattress was removed and replaced with an

older, worn mattress.

          34.   Keyes experienced similar problems at Station 54, including regularly finding

urine on the floor and toilet seat in the bathroom. In the dormitory, she found tobacco spit in her

desk drawers, and spit cups in the women’s dormitory. Her items were also moved around in her

locker.

          35.   Male firefighters would not interact with Draycott or Keyes, often for their entire

shifts. Though firefighters must live and work together in close quarters for 24-hour shifts,

Draycott and Keyes were left to eat and pass time alone.

D. Draycott Made Repeated Complaints about Men Misusing the Women’s Dormitory and
   Bathroom.

          36.   In early 2009, Draycott reported to her Captain that a firecracker exploded when

she opened the door to the stall in the women’s bathroom. He laughed at her complaint.




                                                  6
        37.    Draycott made at least three verbal complaints regarding the conditions of the

bathroom and dormitory to Captain Hencshel prior to April 10, 2009.

        38.    Beginning April 10, 2009, Hencshel began recording Draycott’s complaints in the

station Log Book. On April 10, 2009, Hencshel recorded that he met with Draycott and Keyes to

discuss the television being removed from the women’s dormitory and advised them to tell him

if they encountered further problems in their bathroom or dormitory.

        39.    On May 12, 2009, Captain Hencshel recorded that he was asked to come witness

urine on the women’s toilet seat.

        40.    The following day, on May 13, 2009, Hencshel recorded that during a Roll Call,

he questioned whether any firefighter had gone into the women’s dormitory and reminded them

that those areas were off limits.

        41.    On May 18, 2009, Hencshel recorded that urine on the toilet was again reported.

        42.    On June 19, 2009, Hencshel again recorded that he investigated urine in the

women’s bathroom.

        43.    The same day, Draycott reported to Hencshel that she had tried to take a shower

and had been scalded by hot water. A later investigation revealed the cold water valve in the

ceiling had been manually turned off, although there were no records of any shower maintenance

work around that time.

        44.    On June 21, 2009, Hencshel emailed the other Captains at Station 54, informing

them that he had received numerous complaints from Draycott about urine on the toilet seat and

rim. Hencshel asked them to advise their staff that the women’s dormitory and bathroom were

off limits.




                                                7
       45.     Following this notification, the announcement speakers in the female dormitory

were manually turned off, causing Draycott to nearly miss a run when she was called to report

and did not appear. The cables to the television in the women’s dormitory also went missing.

       46.     District Chief McAteer was apprised of at least some of the problems Draycott

and Keyes were encountering, but he merely instructed his Captains to manage the situation,

without any further guidance.

E. Draycott Files Harassment Complaint with HFD’s Staff Services.

       47.     During the relevant time period, internal HFD complaints were received by the

Houston Fire Department’s Staff Services, which sent them to the OIG for investigation.

       48.     On June 29, 2009, Draycott, accompanied by Keyes, filed a complaint of

harassment with Staff Services. Most of the firefighters on their shift were aware that Draycott

and Keyes had gone to Staff Services to file a complaint. While there, Keyes and Draycott ran

into Fire Chief Phil Boriskie.

       49.     In response to Draycott’s June 29, 2009 complaint, OIG investigated the

following allegations: (1) women’s restroom conditions; (2) Draycott’s locker being disturbed;

(3) Draycott’s mattress being removed; (4) cold water being turned off in the shower; (5)

television cables being removed from the women’s dormitory; (6) announcement speakers being

turned down in the women’s dormitory; and (7) debris left in the women’s dormitory.

       50.     With respect to the June 29, 2009 complaint, OIG concluded that the allegations

related to the shower and speakers could be sustained, but did not assign blame to anyone, and

upon information and belief, did not make any recommendations to HFD as to any remedial or

corrective action.




                                                8
       51.      During the relevant time period, it was OIG’s practice not to sustain a complaint

if there was any competing evidence or testimony. OIG made no credibility determinations as

part of its investigations. If a complaint was made against someone, and that person denied the

complaint, it was OIG’s practice not to sustain the complaint.

       52.      On information and belief, HFD failed to take prompt remedial action to correct

or prevent further harassment upon receiving OIG’s findings as to Draycott’s June 29, 2009

complaint.

F. Eight Days after Draycott’s Complaint, the Women’s Dormitory Was Vandalized with
   Sex-Based and Racial Slurs.

       53.      Eight days after she filed her complaint, on July 7, 2009, Draycott arrived to work

and discovered sex-based and racial slurs written throughout the women’s dormitory in black

permanent marker. The slurs were directed at Draycott, who is white; Draycott’s children; and

Keyes, who is African-American.

       54.      Keyes arrived at the station shortly thereafter and also witnessed the vandalism

and threats. Both Draycott and Keyes were extremely emotionally distraught by what they saw.

       55.      The following slurs were written in the women’s dormitory:

             a. “Niggar lover” and “Die bitch” were written on the wall above Draycott’s desk,

    which had a picture of her two children;

             b. On the wall to the left of Draycott’s locker, “die bitch” was written;

             c. On the wall above Keyes’ desk and on her pull down bed, “die niggar” was

    written;

             d. Two of Keyes’ personal pictures were removed from her locker, written on, and

    left on the floor; and




                                                  9
             e. Inside Draycott’s locker, someone wrote “dead” on the picture of her deceased

    daughter, who had been killed in an automobile accident, and “die” on Draycott’s picture.

       56.     Draycott immediately reported the incident to Captain Hencshel and Senior

Captain Tamez, who informed all levels of HFD management.

       57.     Draycott filed an EEOC Charge on July 15, 2009 and Keyes filed an EEOC

Charge the following day.

G. Draycott Was Immediately Targeted as the Perpetrator During the Investigation.

       58.     OIG commenced an investigation into the slurs, which was conducted by the

Houston Police Department (“HPD”).

       59.     As part of its investigation, the HPD ordered 18 firefighters who were present

during the timeframe in which the slurs were written to sit for a polygraph. One firefighter,

Donald Kern, received a conclusion of “deception indicated.” Several other male firefighters,

including Captain Hencshel, Elmer Williams, Earl Drummer, Gaston Popovich, and Ricky

Bullard received a conclusion of “no opinion” or “inconclusive results” and were polygraphed a

second time.

       60.     On July 16, 2009, Draycott was polygraphed by a private examiner, who

determined she passed the examination without any deception. On July 21, 2009, she was

polygraphed by a different private examiner, who similarly concluded she was not being

deceptive. Draycott provided these results to HPD, but they were rejected and HPD sent these

results for second opinions to the Defense Academy for Credibility Assessment (“DACA”).

       61.     On July 20, 2009, Draycott was polygraphed by HPD. HPD reported “No

Opinion (Suspected Countermeasures).”




                                                10
       62.       HPD polygraphed Keyes on July 20, 2009, and concluded she was not being

deceptive.

       63.       Draycott was the only person for whom HFD had polygraph results reviewed by

DACA.        HPD did not submit its results for Donald Kern, who was found to be deceptive, or

Captain Hencshel, Elmer Williams, Earl Drummer, Gaston Popovich, and Ricky Bullard, who

each received a “no opinion” or “inconclusive results” for at least one of their polygraph

examinations, to DACA.

       64.       HPD also collected handwriting samples from a number of firefighters, including

Draycott and Keyes. Based on its initial review of Draycott’s handwriting sample, HPD claimed

Draycott had written the slurs. However, the Texas Department of Public Safety and FBI

reviewed the same handwriting samples and informed the City they were unable to identify any

suspect.

       65.       During the investigation, Draycott and Keyes were placed on leave. Keyes

eventually transferred to another station.

H. HFD Sought to Dissuade Draycott From Returning to Work Because of Her
   Complaints.

       66.       In the fall of 2009, Draycott indicated her desire to return to Station 54.

       67.       On January 7, 2010, Chief Boriskie, along with his entire command staff, attended

a meeting with the firefighter crew assigned to Draycott’s shift to inform them that Draycott

would be returning the following week and seek their feedback.

       68.       During this meeting, much of the crew expressed to Chief Boriskie that they

adamantly did not want Draycott to return because of her prior complaints and concerns that she

may file future complaints.




                                                   11
        69.     Following the meeting, Captain Brian Williamson, Draycott’s Supervisor,

organized a meeting of selected members of the crew at a restaurant. The group decided to

publicly oppose Draycott’s return and several of the group members wrote out derogatory

statements or notes which they intended to present at the Roll Call when Draycott attempted to

return to work. Their goal was to convince the command staff and/or Draycott to change their

minds about Draycott’s return and ultimately to prevent Draycott from returning.

        70.     On January 13, 2010, Draycott returned to work at Station 54 for the first time in

approximately six months.

        71.     HFD’s highest levels of command staff were present for the Roll Call on January

13, 2010, including Chief Boriskie, Assistant Fire Chiefs Omero Longoria and Daniel Snell,

District Chief McAteer, AARF division-wide coordinator Ronald Krusleski, as well as HFD’s

psychologist and a Firefighters’ Union representative.

        72.     On information and belief, it is not typical practice for HFD’s entire command

staff to attend a Roll Call at a fire station.

        73.      During the January 13, 2010 Roll Call meeting, several firefighters publicly

disparaged Draycott and expressed their desire that she not return to Station 54 because of her

complaints. During this meeting, Captain Williamson and other firefighters read statements

alleging that Draycott was not mentally stable enough to “back the guys up on the line” and “no

one wanted her back” because of her past complaints and fear that she would file future

complaints, among others. All of this took place in the presence of Chief Boriskie, District Chief

McAteer, Assistant Fire Chiefs Longoria and Snell, and AARF division-wide coordinator Ronald

Krusleski, all of whom permitted the attacks to continue and did nothing to intervene.

        74.     Draycott was emotional and in tears during the January 13, 2010 Roll Call.




                                                 12
       75.      Chief Boriskie eventually directed the crew, along with HFD’s psychologist, into

a small group meeting in the Junior Captain’s Office.

       76.      During the small group meeting, crew members were encouraged to share their

uninhibited feelings. Similar to the Roll Call, Captain Williamson and most of the crew told

Draycott she was not welcome back because of her complaints. Draycott was accused of

damaging the marriages of some of the firefighters. Draycott was emotional and in tears during

this meeting.

       77.      On or about March 30, 2010, OIG informed Draycott and Keyes that while it had

sustained the July 7, 2009 Complaint, “there [was] not enough evidence to determine the identity

of any person or persons who participated in this criminal act.”

       78.      The same day, OIG sent its findings to Acting Fire Chief Rick Flanagan.

Flanagan took no action in response to OIG’s findings.

I. Draycott Was Forced Into Disability Retirement As a Result of These Discriminatory
   Actions.

       79.      Following the January 13, 2010 meeting, Draycott was sent home and once again

placed on leave.

       80.      Later in 2010, Draycott attempted to return to work at another station, but was

unable to continue working. In August 2010, Draycott went back on medical leave due to her

condition.

       81.      On information and belief, at the request of the City’s Legal Department, Draycott

was evaluated by Dr. Larry M. Nahmias, a clinical psychologist, in late 2010. On February 27,

2011, Dr. Nahmias deemed Draycott psychologically unable to perform her duties as a firefighter

presently or in the future. As a result, Draycott sought medical disability retirement.

       82.      In connection with her disability retirement application, Draycott was also



                                                13
evaluated by a psychiatrist, William K. Drell, hired by the Houston Firefighters’ Relief and

Retirement Fund (“HFRRF”). On July 11, 2011, Dr. Drell reported that Draycott could not

perform the duties of a firefighter at the HFD due to her medical conditions. Dr. Drell concluded

that, “Ms. Draycott’s disabling symptoms are directly related to her work related incidents,”

including the sex discrimination and hostile work environment.

       83.     Relying on Dr. Drell’s July 2011 report, the HFRRF recommended Draycott’s

application for on duty occupational disability retirement benefits be approved, and it was

thereafter approved.

J. The Incidents Had Serious Emotional and Physical Effects on Draycott and Keyes.

       84.     Draycott has experienced significant pain and suffering, emotional distress,

anxiety, stress, and loss of enjoyment of life caused by the allegations contained herein.

       85.     Keyes has experienced significant pain and suffering, emotional distress, anxiety,

stress, and loss of enjoyment of life caused by the allegations contained herein.

K. The Discriminatory Situation Persists at Station 54.

       86.     Upon information and belief, since July 7, 2009, no female firefighters have been

permanently assigned to Station 54.

       87.     Upon information and belief, a wall has been built in Section 54’s female

dormitory that reduces the dormitory’s size to fit only a single bed. The remainder of the room

has been converted into space for male firefighters. As a result, under the current configuration,

no more than one female firefighter can be assigned to Station 54.




                                                14
                                             COUNT I

                                Title VII, 42 U.S.C. § 2000e-2(a)
                                Hostile Work Environment – Sex
                               (On behalf of Draycott and Keyes)

       88.     The United States re-alleges and incorporates herein by reference all of the

foregoing allegations.

       89.     As described in paragraphs 32 through 87, Draycott and Keyes were subjected to

sex-based acts of harassment, humiliation, and intimidation in the workplace, including life-

threatening slurs, from members of the HFD during their assignments to Station 54.

       90.     Draycott and Keyes made it known that the hostile work environment was

unwelcome. They complained both internally and externally. The harassment described in

paragraphs 32 through 87 was severe and/or pervasive and altered the conditions of their

employment. Draycott and Keyes did find, and a reasonable person would have found, the

conduct offensive.

       91.     Draycott’s and Keyes’ supervisors witnessed and were otherwise aware of the

hostile work environment and did not take reasonable measures to prevent or correct the

behavior.

       92.     The City otherwise failed to exercise reasonable care to prevent or correct the

hostile work environment at Station 54. Draycott, Keyes, and other female firefighters

complained of the hostile work environment to management. The City failed to take prompt

corrective action to remedy the behaviors.

       93.     For the foregoing reasons, the City discriminated against Draycott and Keyes

because of their sex in violation of Section 703(a) of Title VII, 42 U.S.C. § 2000e-2(a), among

other ways, by:




                                                15
             a. Subjecting Draycott and Keyes to harassment based on sex, which created an

                intimidating, hostile, and/or offensive work environment that adversely affected

                the terms, conditions, and privileges of their employment; and

             b. Failing or refusing to take reasonable or appropriate steps to promptly prevent or

                correct the harassment; and

             c. Failing after actual or constructive knowledge of the harassment to take prompt

                and adequate action to stop it.

                                              COUNT II

                                 Title VII, 42 U.S.C. § 2000e-3(a)
                                             Retaliation
                                  (On Behalf of Draycott Only)

       94.      The United States re-alleges and incorporates herein by reference all of the

foregoing allegations.

       95.      Draycott engaged in protected activity, among other ways, when she filed her

EEOC charges of discrimination and when she complained about the hostile work environment

to management, including, but not limited to complaints to her Captain and Staff Services.

       96.      HFD, including Chief Boriskie, District Chief McAteer, Captain Williamson, and

members of Station 54 crew, were all aware of Draycott’s complaints.

       97.      Shortly after Draycott’s complaints were made, HFD began engaging in a series

of materially adverse actions against Draycott that would have dissuaded a reasonable person

from complaining of discrimination. Among other ways, as outlined in paragraphs 53 through

76, Draycott was subjected to slurs and death threats written in the women’s dorm, HFD targeted

Draycott during its investigation, and, when she sought to return to work, permitted her co-

workers to disparage her in an attempt to prevent her from returning to work.




                                                  16
        98.     Defendant took the aforementioned adverse actions against Draycott because of

her protected activities.

        99.     Defendant’s purported reasons for its retaliatory activities are pretext for

discrimination.

        100.    For the foregoing reasons, Defendant discriminated against Draycott in violation

of Section 704(a) of Title VII, 42 U.S.C. § 2000e-3(a).

                                            COUNT III

                                 Title VII, 42 U.S.C. § 2000e-3(a)
                                Retaliatory Constructive Discharge
                                    (on behalf of Draycott only)

        101.    The United States re-alleges and incorporates herein by reference all of the

foregoing allegations.

        102.    Defendant subjected Draycott to intolerable working conditions when, among

other things, it failed to take any meaningful action in response to Draycott’s complaints; failed

to take reasonable measures to correct the harassing conduct; targeted Draycott as the perpetrator

of those acts, rather than as the victim of discrimination; and condoned and permitted her

supervisor and colleagues, in the presence of the highest levels of management, to demean,

disparage, and insult her in an effort to prevent her return to work.

        103.    This retaliatory conduct created working conditions so intolerable that a

reasonable person would have felt compelled to resign. Despite attempts to return to work at

HFD, Draycott found it impossible to return, and was medically forced into early disability

retirement, severely curtailing both present and future earnings.

        104.    For the foregoing reasons, Defendant has discriminated against Draycott, in

violation of Section 704(a) of Title VII, 52 U.S.C. § 2000e-3(a).




                                                  17
                                      PRAYER FOR RELIEF

WHEREFORE, the United States prays that the Court grant the following relief:

        (a)     award all appropriate monetary relief, including lost wages where applicable, to

Draycott and Keyes in an amount to be determined at trial to make each whole for any loss

suffered as a result of the discrimination and retaliation as alleged in this complaint;

        (b)     award Draycott and Keyes any prejudgment interest on the amount of lost wages

and benefits determined to be due;

        (c)     award compensatory damages to Draycott and Keyes to fully compensate them

for the pain and suffering caused by Defendant’s discrimination and retaliation as alleged in this

complaint, pursuant to and within the statutory limitations of Section 102 of the Civil Rights Act

of 1991, 42 U.S.C. § 1981a;

        (d)     enjoin Defendant from further discrimination and retaliation against Keyes;

        (e)     order Defendant to develop and implement appropriate and effective measures to

prevent discrimination and retaliation, including but not limited to implementing appropriate

anti-discrimination and investigation policies and procedures applicable to employees working at

Station 54, and implementing adequate training to all employees and officials, including but not

limited to: (1) taking proper steps to investigate complaints of sexual harassment and sex-based

discrimination; (2) disciplining employees found responsible for sexual harassment; (3)

instituting effective anti-retaliation policies and procedures; (4) disciplining employees found

responsible for retaliation; (5) distributing its anti-harassment and anti-retaliation policies to all

employees; and (6) providing mandatory sexual harassment and anti-retaliation training for all

supervisors and employees;

        (f)     order any further relief necessary to make Draycott and Keyes whole; and




                                                  18
       (g)     award such additional relief as justice may require, together with the United

States’ cost and disbursements in this action.

                                        JURY DEMAND

       The United States hereby demands a trial by jury of all issues so triable pursuant to Rule

38 of the Federal Rules of Civil Procedure and Section 102 of the Civil Rights Act of 1991, 42

U.S.C. § 1981a.

                                      Respectfully submitted,


 RYAN K. PATRICK                                  JOHN M. GORE
 United States Attorney                           Acting Assistant Attorney General
 Southern District of Texas                       Civil Rights Division

 /s/ Keith Edward Wyatt                           DELORA L. KENNEBREW
 KEITH EDWARD WYATT                               GA Bar No. 414320
 Assistant United States Attorney                 Chief
 Texas Bar No. 22092900                           Employment Litigation Section
 Federal Bar No. 3480                             Civil Rights Division
 1000 Louisiana, Suite 2300
 Houston, Texas 77002                             KAREN D. WOODARD (MD Bar)
 (713) 567-9713                                   Principal Deputy Chief
 (713) 718-3303 (fax)                             Employment Litigation Section
 Keith.Wyatt@usdoj.gov                            Civil Rights Division

                                                  /s/ Jeremy P. Monteiro
                                                  /s/ Torie A. Atkinson
                                                  JEREMY P. MONTEIRO (DC Bar No. 977628)
                                                  TORIE A. ATKINSON (New York Bar)
                                                  Trial Attorneys
                                                  United States Department of Justice
                                                  Employment Litigation Section, PHB 4500
                                                  Civil Rights Division
                                                  950 Pennsylvania Avenue, NW
                                                  Washington, DC 20530
                                                  (202) 305-3034
                                                  (202) 514-1005 (fax)
                                                  Jeremy.Monteiro@usdoj.gov
                                                  Torie.Atkinson@usdoj.gov

                                                  Attorneys for Plaintiff



                                                 19
